Case 1:22-cv-10904-JSR Document 326-1 Filed 09/08/23 Page 1 of 7




                      EXHIBIT 1
         Confidential Document
  Case 1:22-cv-10904-JSR - Pursuant
                               326-1 to
                                     FiledProtective    Order
                                          09/08/23 Page 2 of 7


 1              UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF NEW YORK
 2
     GOVERNMENT OF THE UNITED           )
 3   STATES VIRGIN ISLANDS              )
                                        )
 4           Plaintiff,                 )
                                        )
 5   vs.                                ) 1:22-cv-10904-JSR
                                        )
 6   JPMORGAN CHASE BANK, N.A.,         )
                                        )
 7         Defendant/Third-             )
           Party Plaintiff.             )
 8   _________________________          )
     JPMORGAN CHASE BANK, N.A.          )
 9                                      )
             Third-Party                )
10           Plaintiff,                 )
                                        )
11   vs.                                )
                                        )
12   JAMES EDWARD STALEY,               )
                                        )
13           Third-Party                )
             Defendant.                 )
14
                    SATURDAY, JUNE 10, 2023
15
       CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
16

17                        – – –
18              Videotaped deposition of James E.
      Staley, held at the offices of Boies Schiller
19    Flexner, LLC, 55 Hudson Yards, New York, New
      York, commencing at 9:13 a.m. Eastern, on the
20    above date, before Carrie A. Campbell,
      Registered Diplomate Reporter and Certified
21    Realtime Reporter.
22
23                          – – –
24               GOLKOW LITIGATION SERVICES
              877.370.3377 ph | 917.591.5672 fax
25                     deps@golkow.com


Golkow Litigation Services                                       Page 1
         Confidential Document
  Case 1:22-cv-10904-JSR - Pursuant
                               326-1 to
                                     FiledProtective    Order
                                          09/08/23 Page 3 of 7


 1            A.      Mid-'90s.
 2            Q.      And do you recall that Jeffrey
 3    Epstein served as Les Wexner's money manager?
 4            A.      I recall that Epstein was an
 5    advisor to Les Wexner.        I don't know in what
 6    capacity.
 7            Q.      And do you know if Jamie Dimon
 8    and Les Wexner knew one another?
 9            A.      I imagine they did, yes.
10            Q.      Have you ever met Les Wexner?
11            A.      Yes.
12            Q.      In what context?
13            A.      Taking The Limited public.
14            Q.      That was before Mr. Dimon
15    joined the company, correct?
16            A.      Yes.
17            Q.      And when you took The Limited
18    public in the mid-'90s, you hadn't met
19    Jeffrey Epstein as part of that; is that
20    fair?
21            A.      My recollection is that's the
22    first time that I met him.
23            Q.      So you believe you met him at
24    some point before Sandy Warner suggested that
25    you have a meeting with him; is that correct?



Golkow Litigation Services                                       Page 54
         Confidential Document
  Case 1:22-cv-10904-JSR - Pursuant
                               326-1 to
                                     FiledProtective    Order
                                          09/08/23 Page 4 of 7


 1            A.      Very briefly, yes.
 2            Q.      And that would have been in
 3    relation to taking The Limited public?
 4            A.      I was visiting The Limited, and
 5    my recollection is Epstein had an office
 6    there, and I saw him for a couple minutes.
 7            Q.      And is it fair at that time you
 8    would -- you didn't know who he was?
 9            A.      No.
10            Q.      Why would you imagine that
11    Jamie Dimon and Les Wexner knew one another?
12            A.      Both their involvements with
13    Ohio.
14            Q.      What is Jamie Dimon's
15    involvement with Ohio?
16            A.      I think he worked for the bank
17    there.
18            Q.      Did you have occasion to meet
19    with Les Wexner after 2000?
20            A.      Not that I recall.
21            Q.      I want to talk about Labe
22    Jackson.
23                    Do you know who that is?
24            A.      Uh-huh, yes, I do.
25            Q.      And how do you know Labe



Golkow Litigation Services                                       Page 55
         Confidential Document
  Case 1:22-cv-10904-JSR - Pursuant
                               326-1 to
                                     FiledProtective    Order
                                          09/08/23 Page 5 of 7


 1    don't know.
 2            Q.      Irrespective of your
 3    involvement with his accounts, the fact that
 4    he had his accounts and the size of his
 5    accounts at JPMorgan benefitted JPMorgan.
 6                    You would agree, right?
 7            A.      I think no -- you know, I don't
 8    think any single client is that important,
 9    but he was a client of the bank.
10            Q.      And he continued to refer
11    clients to JPMorgan before, during and after
12    his incarceration, correct?
13                    MR. GAIL:     Objection.
14                    THE WITNESS:      I don't think he
15            referred clients to the bank.         I met
16            clients through him, but I don't think
17            he was making a referral.
18    QUESTIONS BY MR. EDWARDS:
19            Q.      Do you know who Thomas McGraw
20    is?
21            A.      No.
22            Q.      Do you remember a Tom McGraw in
23    the tax department of JPMorgan?
24            A.      I don't.
25            Q.      Did you ever become aware of



Golkow Litigation Services                                       Page 386
         Confidential Document
  Case 1:22-cv-10904-JSR - Pursuant
                               326-1 to
                                     FiledProtective    Order
                                          09/08/23 Page 6 of 7


 1            Q.      Did you ever cooperate in any
 2    of the investigations, like voluntarily
 3    cooperate in any of the investigations, into
 4    Jeffrey Epstein?
 5            A.      No.
 6            Q.      Do you know whether JPMorgan
 7    cooperated in the Florida investigation,
 8    either on the state level or the federal
 9    level, in the 2006 to 2008 time frame?
10            A.      I don't know.
11            Q.      Were you ever asked whether
12    JPMorgan should cooperate in that
13    investigation?
14            A.      Not that I recall.
15            Q.      After Jeffrey Epstein was
16    arrested, did you go visit him?
17            A.      When?
18            Q.      When he was arrested, sorry, in
19    2019.
20            A.      No, I did not.
21            Q.      When was the last time you
22    spoke with Jeffrey Epstein?
23            A.      I want to say October,
24    November 2015.
25            Q.      Why was that the last time that



Golkow Litigation Services                                       Page 393
         Confidential Document
  Case 1:22-cv-10904-JSR - Pursuant
                               326-1 to
                                     FiledProtective    Order
                                          09/08/23 Page 7 of 7


 1    you spoke with Jeffrey Epstein?
 2            A.      I became CEO of Barclays.
 3            Q.      And what about your position as
 4    CEO of Barclays had anything to do with you
 5    no longer meeting with or communicating with
 6    Jeffrey Epstein?
 7            A.      Being CEO of a major British
 8    bank is a very, very visible job, and I
 9    thought it was not appropriate to deal at all
10    with Epstein in that role.
11            Q.      By that point in time, did you
12    realize that Jeffrey Epstein had lied to you
13    in the past about his lack of understanding
14    of the ages of some of the victims that had
15    accused him?
16            A.      Yes.
17            Q.      And did that have anything to
18    do with your making a decision to stop
19    talking with him?
20            A.      Yeah.    I think it became
21    increasingly that he had a very, very
22    terrible past, and I didn't want to be
23    associated with him.
24            Q.      When you were CEO of Barclays,
25    did you remain in contact with Prince Andrew?



Golkow Litigation Services                                       Page 394
